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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                     RICHMOND DIVISION



UNITED STATES OF AMERICA

       V.                                       CRIMINAL CASE NO. 3:17CR104-2 (HEH)


MICHAEL FOX,
               Defendant.



                                              ORDER


       This matter is before the Court for consideration of a report and recommendation by the

Magistrate Judge regarding the Magistrate Judge's acceptance of the Defendant's plea of guilty

to the specified charge in the pending matter pursuant to a Fed. R. Crim. P. 11 proceeding

conducted by the Magistrate Judge with the consent of the Defendant and counsel. It appearing

that the Magistrate Judge made full inquiry and findings pursuant to Rule 11; that the Defendant

was given notice of the right to file specific objections to the report and recommendation that has

been submitted as a result of the proceeding; and it further appearing that no objection has been

asserted within the prescribed time period, it is hereby

       ORDERED that the report and recommendation of the Magistrate Judge is ADOPTED

and the Defendant is found guilty of Counts One and Eight of the Second Superseding

Indictment.


                                                                  /s/
                                                      Henry E. Hudson
                                                      United States District Judge


Date: January      , 2018
Richmond, Virginia
